

People v Lemmerman (2025 NY Slip Op 01950)





People v Lemmerman


2025 NY Slip Op 01950


Decided on April 2, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 2, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
WILLIAM G. FORD
HELEN VOUTSINAS
CARL J. LANDICINO, JJ.


2023-05781
 (Ind. No. 71540/23)

[*1]The People of the State of New York, respondent,
vLawrence Lemmerman, appellant.


Twyla Carter, New York, NY (Isabel Patkowski of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Charles T. Pollak, and Rahul K. Sukesh of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Queens County (Toni M. Cimino, J.), rendered June 6, 2023, convicting him of attempted burglary in the third degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The defendant contends that three orders of protection issued at the time of sentencing should be vacated because the Supreme Court failed to state on the record the reasons for issuing them and because two of them are in favor of people who were not witnesses to or victims of the only crime to which he entered a plea of guilty. The defendant's contentions are unpreserved for appellate review, and we decline to review them in the exercise of our interest of justice jurisdiction because the defendant agreed to the issuance of the orders of protection as part of his plea agreement (see People v Augustin-Miranda, 215 AD3d 981; People v Regan, 204 AD3d 833; People v D.A., 184 AD3d 581, 583).
LASALLE, P.J., FORD, VOUTSINAS and LANDICINO, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








